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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

Case No. 04 - 20 2 oO y Cr . LEN at
18 U.S.C. § 371

UNITED STATES OF AMERICA

 

MAGISTRATE JUDGE
SIMON TON
vs.
BARBARA COLINA,
Defendant. _ ° 2
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INFORMATION Le, =|
The United States Attorney charges that: oe |
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GENERAL ALLEGATIONS we OP

At all times relevant to this Information:

1.

The Medicare Program (“Medicare’’) was a federal program that provided free or

below-cost health care insurance benefits to certain individuals (“beneficiaries”), primarily, those

who were elderly, blind, or disabled. Medicare was administered by the Health Care Financing

Administration, an agency of the United States Department of Health and Human Services.
2.

The Medicare Part B program paid for a portion of the cost of certain medications

prescribed by physicians for Medicare beneficiaries. Prescriptions for these medications were

customarily filled at pharmacies that were authorized by Medicare to submit claims for

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reimbursement for the cost of these medications. Medicare, in turn, would process these claims and
pay the pharmacies according to Medicare rules and regulations.

3. The Medicare program, as it related to prescription medications, was administered
in Florida by Palmetto Government Benefits Administrators (“Palmetto GBA”), which, under a
contract with the United States Department of Health and Human Services, served as the fiscal
carrier to receive, process and pay for claims concerning durable medical equipment and certain
prescription medications under Medicare.

4. Medicare was a “federal health care program” as defined by Title 42, United States
Code, Section 1320a-7b(f)(1).

5. Confortec D.M.E., Inc. (“Confortec”) was a pharmacy located in Miami, Florida.
Confortec was authorized by Medicare to submit claims to Medicare for reimbursement of the cost
of certain medications that Confortec dispensed by prescription to Medicare beneficiaries.

6. Defendant BARBARA COLINA, was a Miami-Dade County resident who owned
and operated All-U-Need Medical Supplies, Inc., a durable medical equipment company that was
located in Miami, Florida.

COUNT 1
Conspiracy to Receive Bribes and Kickbacks in Return for Medicare Referrals
(18 U.S.C. § 371)

l. The allegations contained in paragraphs 1 through 6 of the General Allegations

section are realleged and incorporated as though fully set forth herein.

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2. From in or around February 2000, the exact date being unknown to the United States
Attorney, and continuing through on or about June 8, 2000, in Miami-Dade County, in the Southern
District of Florida, and elsewhere, the defendant,

BARBARA COLINA,
did knowingly and unlawfully combine, conspire, confederate, agree and reach a tacit understanding
with a person known to the United States Attorney to commit an offense against the United States,
that is, to violate Title 42, United States Code, Section 1320a-7b(b)(1)(A) by knowingly and
willfully soliciting and receiving remuneration (including any kickback and bribe) directly and
indirectly, overtly and covertly, in cash, in return for referring Medicare beneficiaries for the
furnishing and arranging for the furnishing of any item and service for which payment may be made
in whole and in part by Medicare.
OBJECT OF THE CONSPIRACY

3. An object of the conspiracy was for BARBARA COLINA to enrich herself through
the receipt of kickbacks paid by the owner of Confortec to BARBARA COLINA in return for the
defendant’s referral of Medicare beneficiaries to Confortec.

MANNER AND MEANS OF THE CONSPIRACY

The manner and means by which BARBARA COLINA and her co-conspirator sought to
accomplish the object of the conspiracy included, among others, the following:

4, BARBARA COLINA referred approximately six Medicare beneficiaries to
Confortec, along with prescriptions for medications relating to these beneficiaries, knowing that

Confortec would bill Medicare for the cost of the medications.

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5. Confortec’s owner directed that the prescriptions for the beneficiaries referred by
BARBARA COLINA be dispensed and that Confortec thereafter submit claims to Medicare for the
cost of the medications. Medicare processed these claims and made payments to Confortec
according to the rules and regulations of Medicare.

6. Confortec’s owner, or an employee acting at the owner’s direction, paid BARBARA
COLINA kickbacks in return for BARBARA COLINA’s referral of Medicare beneficiaries and
their Medicare prescription business.

OVERT ACTS

In furtherance of the conspiracy, and to accomplish its purpose and object, at least one of the
conspirators committed or caused to be committed in the Southern District of Florida, and elsewhere,
at least one of the following overt acts, among others:

l. In or around February 24, 2000, BARBARA COLINA delivered to Confortec a
prescription for D.A. for ipratropium bromide.

2. In or around February 24, 2000, BARBARA COLINA delivered to Confortec a
prescription for M.J. for albuterol.

3. On or about February 24, 2000, Confortec’s owner directed a Confortec employee
to dispense D.A’s prescription for ipratropium bromide.

4. On or about February 24, 2000, Confortec’s owner submitted a claim to Palmetto
GBA, in the amount of $252.50, for the cost of ipratropium bromide dispensed by Comfortec for
D.A.

5. On or about February 24, 2000, Confortec’s owner directed a Confortec employee

to dispense M.J.’s prescription for albuterol.

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6. On or about February 24, 2000, Confortec’s submitted a claim to Palmetto GBA, in
the amount of $229.47, for the cost of albuterol dispensed by Confortec for M.J.

7. On or about March 1, 2000, BARBARA COLINA received a cash payment of
approximately $800 from the owner of Confortec.

All in violation of Title 18, United States Code, Section 371.

MARCOS DANIEL JIMENEZ —
UNITED STATES ATTORNEY

Dia) RL

DAVID FRANK
ASSISTANT UNITED STATES ATTORNEY

 

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SOUTHER
UNITED STATES OF AMERICA CASE NO.
vs.
CERTIFICATE OF TRIAL ATTORNEY*
Barbara Colina,
Defendant.
Superseding Case Information:
Court Division: (Select One) New Defendant(s) Yes No —_
Number of New Defendants ——.
XA Miami —— Key West Total number of counts —_—
— FT — WPB — FTP
| do hereby certify that:
1. | have carefully considered the allegations of the indictment, the number of defendants, the number of
probable witnesses and the legal complexities of the Indictment/Information attached hereto.
2. | am aware that the information supplied on this statement will be relied upon by the Judges of this
Court in setting their calendars and scheduling criminal trials under the mandate of the Speedy Trial Act,
Title 28 U.S.C. Section 3161.
Toy Ra ye
3. Interpreter: (Yes or No) —No_ ane) im
List language and/or dialec ee To eg
TO _v
4. This case will take —O days for the parties to try. we nm <
5. Please check appropriate category and type of offense listed below: ae oo
(Check only one) (Check only one) tos and
| 0 to 5 days —o Petty ss
0 ays —____ inor er i SO}
{Il 11 to 20 days ——_ Misdem. st = |
IV 21 to 60 days —__ Felony XW
Vv 61 days and over
6. Has this case been previously filed in this District Court? (Yes or No) No___
yes:
Judge: - Case No.
(Attach copy of dispositive order)
as a complaint been filed in this matter? (Yes or No) No__
yes:
Magistrate Case No.
Related Miscellaneous numbers:
Defendant 5} in federal custody as of
Defendant(s) in state custody as of
Rule 20 from the SSEEEeeseC~*‘éCODS Strict Of
Is this a potential death penalty case? (Yes or No) No
7. Does this case originate from a matter pending in the U.S. Attorney's Office prior to
April 1,2003? X No__
8. Does this case originate from a matter pending in the U. S. Attorney's Office prior to
April 1,1999? Ww Yes XW No y N
es 0

 

 

If yes, was it pending in the Central Region?
9. Does this case originate from a matter pending in the Northern Region of the U.S. Attorney’s Office prior
to October 14, 2003? Yes No

10. Does this case originate from a matter pending in ne Narcotics Section (Miami) prior to

j . canal

DAVID FRANK
ASSISTANT UNITED STATES ATTORNEY

Court ID # A5500486

 

 

 

“Penalty Sheet(s) attached REV.1/14/04
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET
Defendant's Name:_Barbara Colina
Case No:
Count #: 1

Conspiracy to Receive Kickbacks and Bribes in Return for Medicare Referrals

18 U.S.C. § 371
* Max.Penalty: 5 years’ imprisonment

Count #:

 

 

*Max. Penalty:

Count #:

 

 

*Max. Penalty:

Count #:

 

 

*Max. Penalty:

 

*Refers only to possible term of incarceration, does not include possible fines, restitution,
special assessments, parole terms, or forfeitures that may be applicable.
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

BOND RECOMMENDATION

DEFENDANT: _BARBARA COLINA

$20,000 personal surety bond

(Surety) (Recognizance) (Corp. Surety) (Cash) (Jail)
(CSB) (No Bond) (Warrant) (Summons) (Marshal's Custody)

By: Al ane
DAVID FRANK ~
ASSISTANT UNITED STATES ATTORNEY

 

Last Known Address: 17674 N.W. 91°' Avenue Hialeah, FL 33018

 

 

What Facility:

 

 

Agent (s): Robert Muth, Special Agent, Federal Bureau of
Investigation, 16320 N.W. 2"? Avenue, North Miami Beach,

Florida, 33169.
(FBI) (SECRET SERVICE) (DEA) (IRS) (CUSTOMS) (OTHER)
